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                           UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF KENTUCKY
                                LOUISVILLE DIVISION
                         CRIMINAL ACTION NO. 3:21-CR-12-BJB-3

 UNITED STATES OF AMERICA                                                              PLAINTIFF

 V.                                                      Electronically Filed

 NATHANIEL DURHAM                                                                    DEFENDANT

                             * * * * *
  DEFENDANT’S MOTION FOR ISSUANCE OF A SUBPOENA FOR THE PRODUCTION
                      OF DOCUMENTS AND DATA

        Comes the Defendant, NATHANIEL DURHAM, by his appointed counsel, and pursuant

 to Fed.R. of Crim. P.17(c), LCrR 17.2(c) and Joint General Order No. 2016-02, moves this Court

 to authorize the issuance of a subpoena to the Louisville/Jefferson County Metro Emergency

 Management Agency (EMA) for the Production of Documents and Data pertinent to the evidence

 anticipated to be received at trial. As grounds for this Motion, the Defendant states as follows:

 1)     Previously the undersigned was appointed to represent the Defendant as counsel from the

 Court’s Criminal Justice Act attorney panel [DN 33].

 2)     The Defendant is charged with being a prohibited person in possession of a firearm as

 proscribed by Title 18 U.S.C. § 922(g)(1) on December 3, 2020. As this Court is aware, the arrest

 of Mr. Durham occurred as a result of numerous Louisville Metro Police Officers conducting

 surveillance in the area of 3213 Utah Avenue in Jefferson County. As indicated in a video

 recording introduced as evidence in an earlier Suppression Hearing, LMPD officers approached

 Mr. Durham and the three co-defendants from different directions, which led to a foot chase,

 resulting in the Defendant Durham’s arrest.

 3)     Previously undersigned counsel obtained the I/CAD (Intergraph Computer-Aided

 Dispatch) Report of dispatches and a log of the LMPD officers’ communications from this
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 incident. However, as of this writing, the request of the undersigned for the audio recording of the

 operator dispatches and field communications from this incident has not been provided by

 Louisville Metro EMA.

 4)     Therefore, the Defendant requests this Court to authorize the issuance of a subpoena to the

 Louisville/Jefferson County Metro Emergency Management Agency for the production of the

 audio recordings of the operator dispatches and field communications of the LMPD officers

 involved in the arrest of the Defendant.

        WHEREFORE, the Defendant request this Court to approve the issuance of a subpoena

 for the production of the data requested and that the response received from Louisville Metro EMA

 shall be served on counsel for the United States and undersigned counsel.

                                                       Respectfully submitted,



                                                       /s/LARRY D. SIMON
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                                         CERTIFICATION

        I certify that a copy of the foregoing was filed electronically on August 25, 2022. Notice

 of this filing will be sent to all registered parties by operation of Court’s ECF system.



                                                       /s/LARRY D. SIMON
